       Case 6:18-cv-00053 Document 18 Filed on 12/04/18 in TXSD Page 1 of 4



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 VICTORIA DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
 vs.                                               §
                                                   §
 TROY MORELAND, ASHLEY                             §
 MORELAND, FIRST STATE                             §   CIVIL ACTION NO. 6:18-CV-00053
 BANCSHARES OF YOAKUM, INC.,                       §
 AND U.S. BANK AS TRUSTEE FOR                      §
 MASTR ASSET-BACKED                                §
 SECURITIES TRUST 2006-HE4                         §
 MORTGAGE PASS-THROUGH                             §
 CERTIFICATES, SERIES 2006-HE4                     §

DEFENDANT U.S. BANK AS TRUSTEE FOR MASTR ASSET-BACKED SECURITIES
 TRUST 2006-HE4 MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2006-
            HE4’S ANSWER TO FIRST AMENDED COMPLAINT

        Defendant U.S. Bank National Association, as Trustee for MASTR Asset-Backed

Securities Trust 2006-HE4 Mortgage Pass-Through Certificates, Series 2006-HE4 (“U.S. Bank”)

incorrectly named as U.S. Bank as Trustee for Mastr Asset-Backed Securities Trust 2006-HE4

Mortgage Pass-Through Certificates, Series 2006-HE4 files this Answer to Plaintiff United States

of America’s First Amended Complaint (“First Amended Complaint”) and shows as follows:

                                I. JURISDICTION AND VENUE

       1.       U.S. Bank admits the statement in Paragraph 1 of the Complaint.

                                      II.     THE PARTIES

       2.       U.S. Bank admits the statement in Paragraph 2 of the Complaint.

       3.        U.S. Bank has insufficient information to either admit or deny and therefore denies

the statements in Paragraph 3 of the Complaint.

       4.        U.S. Bank has insufficient information to either admit or deny and therefore denies

the statements in Paragraph 4 of the Complaint.


588399.1; 104938.2437                             1
      Case 6:18-cv-00053 Document 18 Filed on 12/04/18 in TXSD Page 2 of 4



       5.        U.S. Bank has insufficient information to either admit or deny and therefore denies

the statements in Paragraph 5 of the Complaint.

       6.        U.S. Bank admits the allegations in Paragraph 6 of the Complaint.

                        COUNT I (JUDGMENT FOR TAX LIABILITY)

       7.        U.S. Bank has insufficient information to either admit or deny and therefore denies

the statements in Paragraph 7 of the Complaint.

       8.        U.S. Bank has insufficient information to either admit or deny and therefore denies

the statements in Paragraph 8 of the Complaint.

                        COUNT II (ENFORCEMENT OF TAX LIENS)

       9.        Paragraph 9 of the Complaint contains statements of law and legal conclusions to

which a response is not required. To the extent a response is required, U.S. Bank denies the

statements in Paragraph 9 of the Complaint.

       10.      U.S. Bank admits the statements in Paragraph 10 of the Complaint.

       11.       U.S. Bank has insufficient information to either admit or deny and therefore denies

the statements in Paragraph 11 of the Complaint.

       12.       U.S. Bank has insufficient information to either admit or deny and therefore denies

the statements in Paragraph 12 of the Complaint.

       13.       U.S. Bank has insufficient information to either admit or deny and therefore denies

the statements in Paragraph 13 of the Complaint.

       14.       U.S. Bank admits it claims an interest in the Bruce Lane property and that its

priority must be determined. U.S. Bank has insufficient information to either admit or deny and

therefore denies the remaining statements in Paragraph 14 of the Complaint.




588399.1; 104938.2437                             2
      Case 6:18-cv-00053 Document 18 Filed on 12/04/18 in TXSD Page 3 of 4



             COUNT III (FEDERAL DEBT COLLECTION PROCEDURES ACT)

       15.       Paragraph 15 of the Complaint contains statements of law and legal conclusions to

which a response is not required. To the extent a response is required, U.S. Bank denies the

statements in Paragraph 15 of the Complaint.

        No response is required to Plaintiff’s unnumbered prayers for relief labeled a-f. To the

extent a response is required, U.S. Bank denies that Plaintiff is entitled to the relief requested in

sections a-f.

                                              Respectfully submitted,

                                              By:    /s/ Matthew A. Knox
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                                              Association, as Trustee for MASTR Asset-Back
                                              Securities Trust 2006-HE4 Mortgage Pass-
                                              Through Certificates, Series 2006-HE4




588399.1; 104938.2437                            3
      Case 6:18-cv-00053 Document 18 Filed on 12/04/18 in TXSD Page 4 of 4



                                CERTIFICATE OF SERVICE

        I certify that on the 4th day of December, 2018, a copy of the above and foregoing was filed
electronically with the Clerk of Court using the CM/ECF system. Notice of this filing has been
forwarded to all parties, by and through their attorneys of record by operation of the Court’s
electronic filing system or by other means in accordance with the FEDERAL RULES OF CIVIL
PROCEDURE.

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                                              /s/ Matthew A. Knox
                                              MATTHEW A. KNOX




588399.1; 104938.2437                            4
